Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3 Filed 07/08/25 Page 1of 10

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CLERK: SHONE POWELL

FEB 26 2024
UNITED STATES DISTRICT COURT

ane DIS ve OF MISSISSIPPI
, REPORTER

Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3

Filed 07/08/25

Page 2 of 10

Mississippi House
tepet Capitol Off/Phone
Name/Address District/County Party Phone (W) Phone (H) and Email address
Shane Aguirre District 17 Rep
709 Highland Circle Lee
Tupelo, MS 38804 saguirre@house.ms.gov
Brent D. Anderson District 122 Rep
19033 Hwy 603 Hancock
Kiln, MS 39556 banderson@house.ms.gov
Jeramey D. Anderson District 110 Dem } (228) 285-8183 400-F
P.O. Box 311 Jackson (601) 359-2438
tawpa, MS 39562
Escatawpa, M 6 janderson@house.ms.gov
Otis L. Anthony IT District 31 Dem (662) 452-5064
P.O. Box 962 Sunflower, Bolivar
Indianola, MS 38751 oanthony@house.ms.gov
William Tracy Arnold District 3 Rep (662) 728-9951 400-E
301 Wyninegar Rd. Alcorn, Prentiss, (601) 359-9390
Booneville, MS 38829 Tishomingo amnold@house.ms.gov
Ww ms.
Willie L. Bailey District 49 Dem (662) 335-5310 100-C
P.O. Box 189 Washington (601) 359-3363
Greenville, MS 38702-0189 .
whailey@house.ms.gov
Earle S. Banks District 67 Dem | (601) 713-2223 (601) 355-5574 102-C
P.O. Box 2539 Hinds (601) 359-3399
Jackson, MS 39215
ebanks@house.ms.gov
Shane Barnett District 86 Rep | (601) 735-4047 400-F
P.O, Box 621 Greene, Perry, Wayne (601) 359-2426
Waynesboro, MS 39367
sbarnett@house.ms.gov
Manly Barton District 109 Rep (228) 588-2763 203
7905 Pecan Ridge George, Jackson (601) 359-3014
Moss Point, MS 39562 :
mbarton@house.ms. gov
Christcpher M. Bell District 65 Dem | (601) 918-8633 400-F
510 George St, Ste 239 Hinds (601) 359-2461
Jackson, MS 39202
cbell@house.ms. gov
Donnie Beli District 21 Rep (662) 862-3385 | 400-A
836 Tucker Road Itawamba, Monroe 01 _
Fulton, MS 38843 (601) 359-3396
dbell@house.ms.gov
Richard Bennett District 120 Rep (228) 863-6483 201-M3
20108 Daugherty Rd. Harrison 359-2860
Long Beach, MS 39560 (601)
rbennett@house.ms.gov
EXHIBIT

Monday, January 15, 2024

DX-22

DX-022-001

Page 1 of 9
Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3

Filed 07/08/25

Page 3 of 10

Name/Address District/County Party Phone (W) Phone (H) a rep none

Lawrence Blackmon District 57 Dem
907 W. Peace Street Madison
Canton, MS 39046

Iblackmon@house.ms.gov
Chuck Blackwell District 88 Rep
50 Blackwell Loop Jones
Ellisville, MS 39437

cblackwell@house.ms.gov
C. Scott Bounds District 44 Rep (601) 656-1765 115-B
45 Carla Drive Leake, Neshoba (601) 359-3334
Philadelphia, MS 39350

sbounds@house.ms.gov
Andy Boyd District 37 Rep

Clay, Lowndes,
Monroe

aboyd@house.ms.gov
Randy P. Boyd District 19 Rep | (662) 231-0133 (662) 282-4045 400-E
P.O. Box 157 Itawamba, Lee (601) 359-3373
Mantachie, MS 38855

rboyd@house.ms.gov
Bo Brown District 70 Dem (601) 366-4774
P.O. Box 3434 Hinds
Jackson, MS 39207

bbrown@house.ms.gov
Elliot Burch District 105 Rep
P, O. Box 1215 Greene, Perry, George
Lucedale, MS 39452

eburch@house.ms.gov
Cedric Burnett District 9 Dem | (662) 363-2531 Bsmt
P.O. Box 961 Coahoma, DeSoto, (601) 359-3259
Tunica, MS 38676 Quitman, Tate, Tunica

cbumnett@house.ms.gov
Grace Butler- Washington District 69 Dem
P.O. Box 2035 Hinds
Jackson, MS 39209 .

gbutlerwashington@house.ms.gov
Larry Byrd District 104 Rep (601) 544-1877 400-B
17 Byrd Rd. Forrest (601) 359-3337
Petal, MS 39465

lbyrd@house.ms.gov
Billy Adam Calvert District 83 Rep | (601) 485-2447
P.O. Box 5774 Kemper, Lauderdale,
Meridian, MS 39302 Newton

bealvert@house.ms.gov
Lester "Bubba" Carpenter District 1 Rep (662) 427-8281 Bsmt
128 Jefferson Street Alcom, Tishomingo (601) 359-4073
Bumsville, MS 38833

Icarpenter@house.ms.gov
Bryant W. Clark District 47 Dem | (662) 834-6133 (662) 834-4074 Bsmt B
271 Clark Road Attala, Holmes, Yazoo (601) 359-2845
Pickens, MS 39146

belark@house.ms.gov
Angela Cockerham District 96 Ind [| (601) 783-6600 (601) 783-4979 201
P O Box 613 Adams, Amite, Pike, (601) 359-3333
Magnolia, MS 39652 Wilkinson

acockerham@house.ms.gov

Monday, January 15, 2024

DX-022-002

Page 2 of 9
Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3

Filed 07/08/25

Page 4 of 10

Name/Address District/County Party Phone (W) Phone (H) capitol Om/Phone
Carolyn Crawford District 121 Rep (228) 452-5029 201-M7
23155 Stablewood Cir Harrison (601) 359-2582
Pass Christian, MS 39571
ccrawford@house.ms.gov
Sam J. Creekmore IV District 14 Rep | (662) 534-9280
1315 South Central Avenue Union
New Albany, MS 38652
screekmore@house.ms.gov
Ronnie Crudup, Jr. District 71 Dem | (601) 371-1427
P.O. Box 7003 Hinds

Jackson, MS 39282

rcrudup@house.ms. gov

Becky Currie District 92 Rep (601) 833-5953 401-C
407 Oliver Drive Copiah, Lawrence, (601) 359-3131
Brookhaven, MS 39601 Lincoln ,
beurrie@house.ms.gov
Oscar Denton District 55 Dem (601) 638-4007 400-F
5024 Rollingwood Est Dr. Warren (601) 359-2438
Vicksburg, MS 39180
odenton@house.ms.gov
Clay Deweese District 12 Rep | (662) 281-1200
5006 Bluff Cove Lafayette
Oxford, M 55
ord, MS 386 cdeweese@house.ms.gov
Jim Estrada District 33 Rep
25732 Hwy 53 Harrison
ier, MS 39574
Saucier, MS 39 jestrada@house.ms.gov
Dan Eubanks District 25 Rep | (662) 374-0035 Bsmt
P.O. Box 184 DeSoto (601) 359-4082
Walls, MS 38680
Is, MS deubanks@house.ms.gov
Casey Eure District 116 Rep | (228) 297-2849 | (228) 297-2849 =|. 201-M5
11839 Sleeping Deer Lane Harrison (601) 359-9466
Saucier, MS 39574
ceure@house.ms.gov
Bob Evans District 91 Dem | (601) 587-0615 — | (601) 587-9313 400-F
P, O. Box 636 Covington, Jefferson (601) 359-2433
Monticello, MS 39654 Davis, Lawrence,
Simpson bevans@house.ms.gov
John G. Faulkner District 5 Dem 400-F
P. O. Box 5995 Benton, Lafayette, (601) 359-2432
Holl ings, MS 38634 Marshall
oly Springs one jfaulkner@house.ms.gov
Kevin W. Felsher District 117 Rep
P.O. Box 4721 Harrison
Biloxi, MS 39535
kfelsher@house.ms.gov
Jimmy Fondren District 111 Rep [ (228) 762-5110
906 Convent Avenue Jackson
P la, MS 39567
aseagon'®, 6 jfondren@house.ms.gov
Jill Ford District 73 Rep
P.O. Box 1018 Madison
Jackson, MS 39215
ackson. jford@house.ms.gov
Monday, January 15, 2024 Page 3 of 9

DxX-022-003
Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3

Filed 07/08/25

Page 5 of 10

scan Capitol Off/Phone
Name/Address District/County Party Phone (W) Phone (H) and Email address
Kevin Ford District 54 Rep | (601) 218-8185
206 Willow Way Issaquena, Warren,
Vicksburg, MS 39183 Yazoo
kford@house.ms.gov
Stephanie McKenzie Foster District 63 Dem
120 Western Hills Drive Hinds
Jackson, MS 39212
sfoster@house.ms.gov
Justis Gibbs District 72 Dem | (601) 827-1691
1223 Hallmark Drive Hinds
Jackson, MS
jgibbs@house.ms.gov
Karl Gibbs District 36 Dem (662) 494-3669 | 400-F
543 George Walker Rd. Chickasaw, Clay, (601) 359-3253
West Point, MS 39773 Monroe, Otibbeha
kgibbs@house.ms.gov
Zack Grady District 115 Rep
11122 Wieck Road Harrison
D'Iberville, MS 39540
zgrady@house.ms.gov
Jeffrey S. Guice District 114 Rep | (228) 875-1114 Bsmt
P.O. Box 549 Jackson (601) 359-2420
Ocean Springs, MS 39566 .
jguice@house.ms.gov
Jeff Hale District 24 Rep | (901) 461-6673 400-F
2303 Westwind Dr DeSoto (601) 359-9395
Nesbit, MS 38651 :
jhale@house.ms.gov
Rodney Hall District 20 Rep
P.O. Box 1301 DeSoto
Southaven, MS 38671
ousnayen 38 rhall@house.ms.gov
Greg Haney District 118 Rep | (228) 380-1825 400-F
104-45th Street Harrison (601) 359-3338
M
Gulfport, MS 39507 ghaney@house.ms.gov
Jeffery Harness District 85 Dem | (601) 446-6769 (601) 762-1947
P.O. Box 758 Claiborne, Franklin,
Fayette, MS 39069 Jefferson, Warren jhamess@house.ms.gov
W. 1. "Doc" Harris, Jr. District 28 Rep
1966 Robertson Road DeSoto
H . .
emando, MS 38632 dharris@house.ms.gov
Josh Hawkins District 10 Rep | (662) 563-2223
1164 Avery Road Panola, Lafayette
i 3
Batesville, MS 38606 jhawkins@house.ms.gov
John W. Hines District 50 Dem | (662) 334-9444 =| (662) 335-9704 100-C
P.O. Box 114 Bolivar, Issaquena, (601) 359-3285
Greenville, MS 38701 Washington _,
jhines@house.ms.gov
Kenji Holloway District 27 Dem
143 Yellow Creek Road Leake, Scott,
Cc , 9501 Madison,
arthage, MS 3 adison, Attala kholioway@house.ms.gov
Monday, January 15, 2024 Page 4 of 9

DxX-022-004
Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3

Filed 07/08/25

Page 6 of 10

. Capitol Off/Phone
Name/Address District/County Party Phone (W) Phone (H) and Email address
Gregory Holloway, Sr. District 76 Dem (601) 894-4228 400-F
115 Edgewood Dr. Copiah, Hinds 1 .
Hazlehurst, MS 39083 (601) 359-2435
gholloway@house.ms.gov
Joey Hood District 35 Rep | (662) 285-4663 (662) 547-9818 112-E
P.O. Box 759 Choctaw, Oktibbeha, 601) 359-3742
Ackerman, MS 39735 Webster, Winston (nt)
jhood@house.ms.gov
Kevin Horan District 34 Rep | (662) 226-2185 (662) 226-1817 1 400-F
P.O. Box 2166 Carroll, Grenada, 1) 359-3311
Grenada, MS 38901 . Lafayette, Yalobusha (601)
khoran@house.ms.gov
Steve Horne District 81 Rep (601) 644-9974 100-C
5904 Causeyville Road Clarke, Lauderdale, (601) 359-9392
Meridian, MS 39301 Newton
shorne@house.ms.gov
Jeffrey Hulum, III District 119 Dem
1410 Genevieve Drive Harrison
Gulfport, MS 39501 .
jhulum@house.ms.gov
Celeste Hurst District 75 Rep
P, O. Box 475 Madison, Rankin,
Sandhill, MS 39161 Scott
churst@house.ms.gov
Keith K. Jackson District 45 Dem
95 Zackery Road Kemper, Lauderdale,
Preston, MS 39354 Winston, Neshoba .
jkeith@house.ms.gov
Lataisha Jackson District 11 Dem (662) 526-1122 | 201-M7
P.O. Box 358 Panola, Tate (601) 359-3348
Como, MS 3861
me 619 Ijackson@house.ms.gov
Hester Jackson-McCray District 40 Dem
3420 Laurelwood Street DeSoto
H , MS 38637
om Lake, MS 386 hjackson-mecray@house.ms.gov
Timaka James-Jones District 51 Dem | (622) 247-3065 (662) 247-1827
210 Central Avenue Humphreys, Sharkey,
Belzoni, MS 39037 Holmes, Yazoo, . .
Leflore tjamesjones@house.ms.gov
Robert L. Johnson, II District 94 Dem | (601) 442-9371 (601) 445-5690 102-C
P. O, Box 1678 Adams, Franklin, (601) 359-3252
Natchez, MS 39121 Jefferson .
rjohnson@house.ms.gov
Kabir Karriem District 41 Dem | (662) 328-3063 (662) 400-0873 400-F
1326 15th St. North Lowndes (601) 359-3339
M
Columbus, MS 39701 iem@house.ms.gov
Justin Keen District 6 Rep
14277 Flynn Valley § DeSoto
Byhali 38611
yhalia, MS 386 jkeen@house.ms.gov
Bill Kinkade District 52 Rep | (901) 365-4830 (901) 870-2726 112-C
71 Peachtree Road DeSoto, Marshall (601) 359-3367
Byhalia, MS 38611
mee ° bkinkade@house.ms.gov
Monday, January 15, 2024 Page 5 of 9

DX-022-005
Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3

Filed 07/08/25

Page 7 of 10

. Capitol Off/Phone
Name/Address District/County Party Phone (W) Phone (H) and Email address
Shane Aguirre District 17 Rep 102-C
709 Highland Circle Lee _
Tupelo, MS 38804 (601) 359-3374
saguirre@house.ms.gov
Timmy Ladner District 93 Rep (228) 518-0878 201-M7
6 Michael D. Smith Rd Hancock, Pear] River, 24
Poplarville, MS 39470 Stone (601) 359-2422
tladner@house.ms.gov
John Thomas “Trey” Lamar, III District 8 Rep | (662) 562-6537 (662) 562-0434 201
214 South Ward Street Lafayette, Tate 01) 359-3343
Senatobia, MS 38668 (601) 35
jlamar@house.ms.gov
Jon Lancaster District 22 Rep (662) 631-5065
463 CR 85 Chickasaw, Monroe,
Houston, MS 38851 Pontotoc
jlancaster@house.ms.gov
Steve Lott District 107 Rep (601) 766-3053
125 Ashton Drive George, Stone
Lucedale, MS 39452
slott@house.ms.gov
Vince Mangold District 53 Rep | (601) 833-9155 (601) 835-2681 Bsmt
1276 Wellman Dr. SE Franklin, Lawrence, (601) 359-5140
Brookhaven, MS 39601 Lincoln, Pike
vmangold@house.ms.gov
Clay Mansell District 56 Rep | (601) 990-9511 (601) 924-9059
105 E. Main Street Hinds, Madison
Clinton, MS 39056
cmansell@house.ms.gov
Steve Massengill District 13 Rep (662) 815-5000 400-E
424 Massengill Road Benton, Lafayette, (601) 359-3353
Hickory Flat, MS 38633 Marshall, Pontotoc, .
Union smassengill@house.ms. gov
Bradford L Mattox District 2 Rep | (662) 594-8255
427 CR 560 Alcorn
Corinth, MS 38334
bmattox@house.ms. gov
Kent McCarty District 101 Rep | (601) 550-2470
13 Leaf Lane Lamar
ttiesburg, 402
Hattiesburg, MS 39 kmecarty@house.ms.gov
Missy W. McGee District 102 Rep
P.O. Box 19089 Forrest, Lamar
Hattiesburg, MS 39404
mmcgee@house.ms.gov
Jay McKnight District 95 Rep
22160 Highway 53 Harrison, Hancock
G rt, MS 39503
ulfport, MS jmcknight@house.ms.gov
Dana Underwood McLean District 39 Rep
332 Williamsburg Road Lowndes, Monrce
Columbus, MS 39705
olumbus, MS 3 dmciean@house.ms.gov
Jonathan McMillan District 58 Rep (601) 889-0020
483 Cherry Hill Drive Madison

Madison, MS 39110

jmcmillan@house.ms.gov

Monday, Janvary 15, 2024

DX-022-006

Page 6 of 9
Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3

Filed 07/08/25

Page 8 of 10

ict rt Capitol Off/Phone
Name/Address District/County Party Phone (W) Phone (H) and Email address
Carl L. Mickens District 42 Dem | (662) 425-1804 | (662) 726-9506 | 400-F
P.O. Box 427 Kemper, Lowndes, 1 2499
Brooksville, MS 39739 Noxubee, Winston (601) 359-2
cmickens@house.ms.gov
Sam C. Mims, V District 97 Rep (601) 684-0281 104-B
605 Lakeshore Drive Adams, Amite, 601) 359-3320
McComb, MS 39648 Franklin, Pike (601)
smims@house.ms.gov
Ken Morgan District 100 Rep (601) 736-9688 119-C
1640 Highway 587 Lamar, Marion (601) 359-5334
Morgantown, MS 39483
kmorgan@house.ms.gov
Fabian Adonis Nelson District 66 Dem
118 Byram Parkway, Ste. C Hinds
Byram, MS 39272
fnelson@house.ms.gov
Gene Newman District 61 Rep
801 Country Place Drive Rankin
Pearl, MS 39208
gnewman@house.ms.gov
Kar! Oliver District 46 Rep | (662) 283-2121 400-F
P.O. Box 95 Carroll, Grenada, (601) 359-2430
Winona, MS 38967 Leflore, Montgomery, .
Webster koliver@house.ms.gov
Solomon C. Osborne District 32 Dem (662) 453-9112
216 Star Street Leflore
Greenwood, MS 38930
sosborne@house.ms.gov
Jansen T. Owen District 106 Rep | (601) 746-5201
P.O. Box 249 Pearl River, Lamar
Poplarville, MS 39470 /
jowen@house.ms.gov
Orlando W. Paden District 26 Dem 400-F
3731 Stovall Rd, Bolivar, Coahoma, (601) 359-2439
Clarksdale, MS 38614 Sunflower
opaden@house.ms.gov
Bill Pigott District 99 Rep (601) 303-0988 119-B
92 Pigott-Easterling Rd Lamar, Lawrence, (601) 359-3332
Tylertown, MS 39667 Marion, Walthal! .
bpigott@house.ms.gov
Daryl! L. Porter, Jr. District 98 Dem
P.O. Box 772 Pike, Walthall!
Summit, MS 39666 dporter@house.ms.gov
Brent Powell District 59 Rep 119
P.O. Box 5454 Rankin (601) 359-3349
Brandon, MS 39047
bpowell@house.ms.gov
John O. Read District 112 Rep | (228) 497-3845 201-M2
2396 Robert Hiram Dr Jackson (601) 359-3321
Gautier, MS 39552 :
jread@house.ms.gov
Kimberly Remak District 7 Rep
5240 Wedgewood Drive DeSoto
i
Olive Branch, MS 38654 kr Dhouse.ms.gov

Monday, January 15, 2024

DX-022-007

Page 7 of 9
Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3

Filed 07/08/25

Page 9 of 10

Capitol Off/Phone
Name/Address Distric/County Party Phone (W) Phone (H) and Email address
Rob Roberson District 43 Rep | (662) 324-3810 (662) 418-2914 | 201-M7
212 East Main Street Oktibbeha 6 59-9465
Starkville, MS 39759 (601) 359-9
rroberson@house.ms.gov
Tracey T. Rosebud District 30 Dem
P.O. Box 181 Tallahatchie,
Tutwiler, MS 38963 Sunflower, Grenada
trosebud@house.ms.gov
Randy Rushing District 78 Rep (601) 635-2044 400-H
P.O. Box 424 Leake, Newton, Scott (601) 359-3371
Decatur, MS 39327
trushing@house.ms.gov
Robert L. Sanders District 29 Dem (662) 719-9906
925 South Martin Luther King Bolivar, Sunflower
Cleveland, MS 38732
rsanders@house.ms.gov
Noah L. Sanford District 90 Rep | (601) 517-6622 400-F
P.O. Box 1900 Covington, Forrest, (601) 359-9489
Collins, MS 39428 Jefferson Davis,
Jones, Simpson nsanford@house.ms.gov
Donnie Scoggin District 89 Rep | (601) 477-8553 (601) 319-5421
1203 Pine Street Jones
Elisville MS 39437 .
dscoggin@house.ms.gov
Omeria Scott District 80 Dem (601) 649-7677 Bsmt
615 East 19th St. Clarke, Jasper, Jones (601) 359-4084
Laurel, MS 39440
oscott@house.ms.gov
Fred Shanks District 60 Rep (601) 340-0041
107 Lori Circle Rankin
B , MS 39042
randon, MS 390 fshanks@house.ms.gov
Troy Smith District 84 Rep
320 Smith Ridge Lane Clarke, Jasper, Newton
terprise, MS 39330
Enterprise tsmith@house.ms.gov
Andy Stepp District 23 Rep | (662) 983-4011
P.O. Box 656 Calhoun, Lafayette,
Bruce, MS 38915 Pontotoc, Webster
astepp@house.ms.gov
Jody Steverson District 4 Rep { (662) 837-9332 (662) 837-0194 201-M?
125 Woodridge Alcorn, Tippah (601) 359-3457
Ripley, MS 33663
my 388 jsteverson@house.ms.gov
Zakiya Summers District 68 Dem | (769) 224-0554
P.O. Box 21210 Hinds, Rankin
Jackson, MS 39289
zsummers@house.ms.gov
Cheikh A. Taylor District 38 Dem | (662) 617-8125
383 Steele Road Clay, Lowndes,
Starkville, MS 39759 Oktibbeha
ctaylor@house.ms.gov
Rickey W. Thompson District 16 Dem (662) 767-3480
191 County Road 301 Chickasaw, Lee,
Shannon, MS 38868 Monroe

rthompson@house.ms.gov

Monday, January 15, 2024

DX-022-008

Page 8 of 9
Case 3:22-cv-00734-DPJ-HSO-LHS Document 299-3

Filed 07/08/25

Page 10 of 10

sat Capitol Off/Phone
Name/Address District/County Party Phone(W) Phone) 9 “SPD une
Joseph Tubb District 87 Rep | (601) 336-3660
30 Pin Oak Lane Lamar, Forest
Purvis, MS 39475 jtubb@house.ms.gov
Mark K. Tullos District 79 Rep [| (601) 782-4587 | (601) 782-9167 | 400-F
P.O. Box 505 Jasper, Smith, Rankin, (601) 359-2431
Raleigh Ms 39153 Scot mtullos@house.ms.gov
Jerry R. Turner District 18 Rep | (662) 365-8484 | (662) 365-5135 119-A
1290 Carrollville Ave. Lee, Prentiss (601) 359-9473
Bal , MS 3882
dwyn, MS 38824 jturner@house.ms.gov
Lance Varner District 62 Rep
1072 Hwy 462 South Rankin, Simpson,
Florence, MS 39073 Cophiah
Lo Ivarner@house.ms.gov
Beth Luther Waldo District 15 Rep
4004 Hwy 9 South Pontotoc
Pontotoc, MS 38863
ontotoc bwaldo@house.ms.gov
Price Wallace District 77 Rep (601) 847-5696
125 Price Wallace Drive Rankin, Simpson
Mendenhall, MS 39114
ones 39 pwallace@house.ms.gov
Percy W. Watson District 103 Dem | (601) 545-1051 (601) 344-6490 100-C
P.O. Box 1767 Forrest (601) 359-3354
Hattiesburg, MS 39403
pwatson@bhouse.ms.gov
Jason White District 48 Rep | (662) 289-8888 (662) 967-2015 201
P.O. Box 246 Attala, Carroll, (601) 359-3359
West, MS 39192 Holmes, Leake Los
jwhite@house.ms.gov
Stacey Hobgood Wilkes District 108 Rep (601) 798-3334
P.O. Box 1165 Pearl River
Picayune MS 39466
swilkes@house.ms.gov
Lee Yancey District 74 Rep
P.O. Box 4215 Rankin
Brandon, MS 39047
lyancey@house.ms.gov
Shanda Yates District 64 Ind } (601) 487-6997
P.O. Box 16409 Hinds, Madison
Jackson, MS 39236
syates@house.ms. gov
Charles Young, Jr. District 82 Dem | (601) 693-1961 400-F
P.O. Box 5393 Lauderdale (601) 359-2432
Meridian, MS 39302
cyoung@house.ms.gov
H.B. "Hank" Zuber, III District 113 Rep | (228) 875-1097 || (228) 875-4866 402-C
503 Minor Lane Jackson

Ocean Springs, MS 39564

(601) 359-3328

hzuber@house.ms.gov

Monday, January 15, 2024

DX-022-009

Page 9 of 9
